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                         IN THE UNITED STATES DISTRICT COURT
                       F''OR THE NORTHERN DISTRICT OF ILLINOIS

 Felicia Hankins, Person Representative
 Of the Estate of Jordan Hankins,


                       Plaintiff,

                                                          Case   No.: 79-c-147

 Alpha Kappa Alpha Sorority, Inc.; Alpha
 Kappa Alpha Sorority, Inc., Gamma Chi
 Chapter; Alpha Kappa Alpha Sorority, Inc.,
 Delta Chi Omega Chapter; Kathy A. Walker
                                                            Sudge                Edrnond         E C*V
 Steele; Alexandria Anderson; Jalon Brown;
 Alexandria Clemons; Cariana Chambers;
 Raven Smith; Bianca Valdez;
 Ava Thompson Greenwell; and Ashanti
                                                                   FILED
 Madlock-Henderson.                                                      APR     1e   281ee6

                       Defendants.                                  THOMAS G. BRUTON
                                                                  CLERK, U.S. DISTRICT COURT

pEI'ENpANT ALEXANDRTA g. CLEMONS' PETITTON FOR LEAVE TO
                                                            XBOCEEp
        rNn'oRMA PAUPERTS AND [',OR APPOTNTMENT OF CO-U.I{SEL

         Defendant Alexandria C. Clemons moves for leave to proceed in forma pauperis and for

appointment of counsel pursuantto 28 U.S.C. $ 1915(a) and 1915(e)(1). In support thereof I state

as   follows:

          L     In this lawsuit, the estate of Jordan Hankins alleges that Jordan Hankins committed

suicide as a result of hazing that occurred at her        sorority. I was a member of this sorority. In

addition to suing the sorority, the estate also sued me.

          2.    I am currently      a law student   living in Tulsa, Oklahoma. As such, I currently have

no employment or other source of income and expect to graduate from 1aw school                 n 2022 wLth
six figures of debt.
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       3.      As attested to and sworn to under oath in the attached In Forma                     Pauperis

Application and Financial Affidavit ("Affidavit"), I have no assets or other money sufficient to

pay defense counsel to defend me in this case. (Affrdavit attached as Ex. 1.) I also am not aware

of any liability insurance that would apply to defend me in this case.

       4.       Since I reside in Oklatroma and am afirll-time student, it    will   also pose a substantial

financial hardship if I am required to appear in court and otherwise travel to Chicago to appear for

depositions and other discovery matters.

       5,      Due to the foregoing issues     I   do not have sufficient money to pay the costs and

expenses necessary to proceed   with my defense of this lawsuit.

       6.       For the same reasons    I   do not have sufficient money needed to pay counsel to

defend me in this case. Without appointment of counsel I      will   be unable to adequately defend such

a complox   civil action as that involved here. This is especially true since I am a full-time student

residing in Oklahoma who camot readily attend court appearances or discovery matters such as

depositions.

       WHEREFORE, I respectfully request that the Court allow me to proceed in forma pauperis

and appoint counsel to represent me in this case.

                                                   Respectfully submitted by,




Alexandria C. Clemons
2830 E. 4tr Place
Apartment #2037
Tulsa, OK74104
(2t3) s9s-4r3s
alexclemons. c@gmail.com
alexncollege@yahoo, com
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              trxhibit 1
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             flf you need additional space for ANY section, please attach an additional sheet and reference that section.l


                              UNITED STATES DISTRICT COURT F'OR THE
                                  NORTHERN DISTRICT OF ILLINOIS

                                                                         IN FORMA PAUPERIS APPLICATION
                                                                         AND F'INANCIAL AF'F'IDAVIT
 Estate of Hankins

Plaintiff
                                                                         Case Numbsy'.          19 C 147



                                                                         Judge:     Edmond E. Chang
 Alpha Kappa Alpha, et al

Defendant(s).

Instructions: This application must be updated at least annually. Please answer every question.
Do not leave any blanks. If the answer is "none" or "not applicable (N/A)," write that response.
Wherever a box is included, place a / in whichever box applies. If you need more space to
answer a question or to explain your answer, attach an additional page that refers to each such
question by number and provide the additional information. Please print or type your answers.

Application: I,Alexandria C. Clemons                         , declare that I am the E plaintiff
D petitioner D movant E (other d"tu"da"t                                               ) in the
above-entitled case. This affidavit constirutes my application to proceed E without full
prepayment of fees, or fl in support of my motion for appointment of counsel, or E both. t
declare that I am unable to pay the costs of these proceedings, and I believe that I am entitled to
the relief sought in the complaint/petition/motion/appeal. I understand that the judge can grant
my application, deny my application, or require that I pay a partial filing fee. In support of my
application, I answer the following questions under penalty of perjury.

l.         Are you currently incarcerated?                                                                 EYes                ENo
                                                                                                           (If "No"   go to question 2.)

           ID #:                              Name of prison or                         jail:
           Do you receive any payment from the institution?                                                EYes                trNo
           Monthly amount:

2.         Are you currently employed?                                                                     E Yes               El No
           A.     If the answer is"yes," state your:
                  Monthly salary or wages.'
                  Name and address of employer:

           B.
                     Beginning and ending dates of last employment:
                     Last monthly salary or wages:

                     Name and address of employer:

3.        Are you married?                                                                                 fl Yes              trNo
          If the answer is "yes", is your spouse currently employed?                                       E Yes               trNo
             [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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          Spouse's Monthly salary orwages.'
                 Name and address of employer:

4.        In addition to your income stated above in response to Question 2 (which you should not
          repeat here), have you or anyone else living at the same residence received more than
          $200 in the past twelve months from any of the following sources? Place a / next to
          "Yes" or "No" in each of the categories A through G , check all boxes that apply in each
          category, and fill in the twelve-month total in each category.

          A.     E Salary or E wages                                                                    fl   Yes             ENo
                 Total received in the last 12 months:
                 Received by:

          B.     E Business, E profession or E other self-employment                                    E Yes                ENo
                 Total received in the last 12 months:
                 Received by:

          C. E      Rental income, E interest or fl dividends                                           E Yes                El No
                 Total received in the last 12 months:
                 Received by:

          D. tr      Pensions,       E
                                   social security,            E
                                                       annuities,  life          E                      E Yes                ENo
                 insurance,     tr
                               disability,          E
                                               workers' compensation,
                 E alimony or maintenance or E Settlement/Judgment or                           E   child support
                 Total received in the last 12 months:
                 Received by:

          E.     tr Gifts or E    inheritances                                                          E    Yes             ENo
                 Total received in the last 12 months:
                 Received by:

          F. E        Unemplo)rment,          fl   welfare, or E any other public                       E Yes                ENo
                 assistance
                 Total received in the last 12 months:
                 Received by:

          G.     tr Any other sources (describe source:                                              )tr     Yes             ENo
                 Total received in the last l2 months:
                 Received by:

          Do you or anyone else living at the same residence have more         E Yes                                         EI No
          than $200 in cash or checking or savings accounts?
          Total amount:
          In whose name held:                             Relationship to you:




            [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]


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6.         Do you or anyone else living at the same residence own any
           stocks, bonds, securities or other financial instruments?               E Yes                                       EI No
           Property:                                  Current value:
           ln whose name held:                                Relationship to you:

7.         Do you or anyone else living at the same residence own any real estate (with or without a
           mortgage)? Real estate includes, among other things, a house, apartment, condominium,
           cooperative, two-flat,           etc.                                                 No       E Yes                tr
           Type ofproperty and address:
           Current value:                                  Equity:                         (Equity
           is the difference between what the property is worth and the amount you owe on it.)
           ln whose name held:                              Relationship to you:
           Amount of monthly mortgage or loan payments:
           Name of person making payments:

8.         Do you or anyone else living at the same residence own any automobiles with a current
           market value of more than $1000?                                    E Yes       ENo
           Year, make and model:
           Current value:                                Equity:                       (Equity is
           the difference between what the automobile is worth and the amount you owe on it.)
           Amount of monthly loan payments:
           In whose name held:                              Relationship to you:
           Name of person making payments:

9.         Do you or anyone else living al the same residence own any boats, trailers, mobile homes
           or other items of personal property with a current market value of more than $ 1000?
                                                                                E Yes         ENo
           Property:
           Current value:                                  Equ ity:                        (Equity
           is the difference between what the property is worth and the amount you owe on it.)
           Amount of monthly loan payments:
           In whose name held:                               Relationship to you:
           Name of person making payments:

10.        List the persons who live with you who are dependent on you for support. State your
           relationship to each person and state whether you are entirely responsible for the person's
           support or the specific monthly amount you contribute to his or her support. If none,
           check here: E None.
           I'm a single, unemployed, current college student surviving barely off of government student loans.



11.       List the persons who do not live with you who are dependent on you for support. State
          your relationship to each person and state how much you contribute monthly to his orher
          support. If none, checkhere: E None.




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Ideclare under penalty of perjury that the above information is true and correct.                                    I
understand that28 U.S.C. $ 1915(e)(2)(A) states that the court shall dismiss this case at
any time if the court determines that my           of poverty is untrue.

p61s. APRIL 7,2019
                                                                      Signature ofApplicant
                                                    ALEXANDRIA C. CLEMONS
                                                                      (Print Name)



NOTICE TO PRISONERS: In addition to the Certificate below.           a prisoner must also attach a
print-out from the institution(s) where he or slre has been in custody drl{ing th..e last six months
showing all receipts- expenditures and balances in the prisoner's prison orjail trust fund
accounts during that pe[i.gd. Because the law requires information as to such accounts covering
a full six months before you have filed your lawsuit, you must attach a sheet covering
ffansactions in your own account - prepared by each instirution where you have been in custody
during that six-month period. As already stated, you must also have the Certificate below
completed by an authorized officer at each institution.
                                                                                             --.

                                                    CERTIFICATE
                                    (In carcerated applicants only)
                          (To be completed by the institution of incarceration)

I certify that the applicant named herei                                                  T-D.#                           , has
the sum of      $                     on account to his/her credit at (name of institution)
                                            I further certi$r that the applicant has the following
securities to his/her credit:                         . I further certify that during the past six months the
applicant's average monthly deposit was $                                           (Add all deposits from all
sources and then divide by number ofmonths).

Date                                               Signarure of Authorized Officer


(Print Name)




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